
Freedman, J.
— This is an action to recover the possession of certain personal property, or its value, taken by the sheriff from the plaintiffs under an attachment issued to him against the property of one Nathan Silvcrstein. The defendants indemnified the sheriff, and the property was taken upon the strength of their indemnity bond. The plan tiffs claimed title as bona fide purchasers for value from Nathan Silvcrstein. The question as to the validity of this purchase was fully litigated at the trial as a question of fact. , Both parties give evidence upon tile point, and at the close of the whole case the plaintiffs did not move for the direction of a verdict, but at once went to the jury, and the case was submitted to the jury under a charge to which practically no exception was taken. The record discloses no error, and no reason appears for a disturbance of the verdict, which the jury rendered for the defendants. The judgment and order should be affirmed with costs.
